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                                EXHIBIT 3
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                    IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF NEW JERSEY

     IN RE:                        .          Case No. 23-12825(MBK)
                                   .
     LTL MANAGEMENT LLC,           .
                                   .          U.S. Courthouse
               Debtor.             .          402 East State Street
                                   .          Trenton, NJ 08608
     . . . . . . . . . . . . . . . .
                                   .
     LTL MANAGEMENT LLC,           .          Adv. No. 23-01092(MBK)
                                   .
               Plaintiff,          .
                                   .
          v.                       .
                                   .
     THOSE PARTIES LISTED ON       .
     APPENDIX A TO COMPLAINT AND   .
     JOHN AND JANE DOES 1-1000,    .
                                   .
               Defendants.         .          Thursday, April 20, 2023
     . . . . . . . . . . . . . . . .          12:02 p.m.

                            TRANSCRIPT OF RULING ON
          MEMORANDUM OF LAW IN SUPPORT OF MOTION BY MOVANT ANTHONY
        HERNANDEZ VALADEZ FOR AN ORDER (I) GRANTING RELIEF FROM THE
       AUTOMATIC STAY, SECOND AMENDED EX PARTY TEMPORARY RESTRAINING
     ORDER, AND ANTICIPATED PRELIMINARY INJUNCTION, AND (II) WAIVING
           THE FOURTEEN-DAY STAY UNDER FEDERAL RULE OF BANKRUPTCY
        PROCEDURE 400l(a)(3) [DOCKET 7l]; AND DEBTOR'S MOTION FOR AN
      ORDER (I) DECLARING THAT THE AUTOMATIC STAY APPLIES OR EXTENDS
        TO CERTAIN ACTIONS AGAINST NON DEBTORS OR (II) PRELIMINARILY
            ENJOINING SUCH ACTIONS AND (III) GRANTING A TEMPORARY
       RESTRAINING ORDER EX PARTE PENDING A HEARING ON A PRELIMINARY
         INJUNCTION [ADVERSARY DOCKET 2]; AND MOTION TO SEAL; AND
                          SERVICE PROCEDURES MOTION
                    BEFORE THE HONORABLE MICHAEL B. KAPLAN
                     UNITED STATES BANKRUPTCY COURT JUDGE

     Audio Operator:                          Kiya Martin

     Proceedings recorded by electronic sound recording, transcript
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     ______________________________________________________________

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                                                                                 22
  1              MR. GORDON:    And, Your Honor, I wanted to spend one

  2 minute on Mr. Placitella, if I could.          I obviously heard Your

  3 Honor’s ruling.      I just wanted to indicate that he did say in

  4 court, as I recall, that the basis for the claims is successor

  5 in interest, which would be property of the estate, and

  6 therefore those claims would be barred by the automatic stay.

  7 But we heard Your Honor.        We’ll handle that appropriately.

  8 We’ll file a motion as necessary to get the relief that we

  9 think would confirm that those claims are barred by the

 10 automatic stay.

 11              THE COURT:    In fairness to Mr. Placitella, I was

 12 moving everybody along quickly --

 13              MR. GORDON:    Understood.

 14              THE COURT:    -- on Tuesday, and we didn’t vet these

 15 arguments.

 16              MR. GORDON:    Sure.

 17              THE COURT:    And given the stage where it’s at there’s

 18 ample time to address it further.

 19              MR. GORDON:    Understood, Your Honor.

 20              THE COURT:    Ms. Cyganowski, I can’t tell, is there

 21 still a hand up?

 22              MS. CYGANOWSKI:     Yes, there is, Your Honor.          Melanie

 23 Cyganowski for the Committee.         I’m not asking for the relief

 24 today, but just to advise the Court that we will be opposing

 25 the debtor’s request for expedited relief with respect to the




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